Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 1 of 13 PageID #: 161




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


                                                  )
 SYMBOLOGY INNOVATIONS, LLC,                      )
                                                  )
                       Plaintiff,                 )   Case No. 2:16-cv-00450-JRG
                                                  )
           v.                                     )   LEAD CASE
                                                  )
 CITIBANK, N.A.,                                  )
                                                  )
                       Defendant.                 )
                                                  )
                                                  )
 SYMBOLOGY INNOVATIONS, LLC,                      )
                                                  )
                       Plaintiff,                 )   Case No. 2:16-cv-00443-JRG
                                                  )
           v.                                     )   CONSOLIDATED CASE
                                                  )
 BANK OF AMERICA, N.A.,                           )
                                                  )
                       Defendant.                 )
                                                  )


                           BANK OF AMERICA, N.A.’s ANSWER

       Defendant Bank of America, N.A. (“Defendant” or “BANA”) hereby responds to

Plaintiff Symbology Innovations, LLC’s (“Symbology” or “Plaintiff”) Complaint for

infringement of United States Patents Nos. 8,424,752, 8,651,369 and 8,936,190 (respectively,

“the ‘752 patent,” “the ‘369 patent” and “the ‘190 patent”; collectively, “the patents-in-suit”) as

follows:
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 2 of 13 PageID #: 162




                                 PARTIES AND JURISDICTION

       1.      BANA admits that Plaintiff purports to bring this action under Title 35 of the

United States Code and that Plaintiff seeks injunctive relief and damages. BANA denies that it

has infringed any valid claim of any of the patents-in-suit.

       2.      BANA admits that jurisdiction is proper in this Court under 28 U.S.C. §§ 1331

and 1338(a) because this is a civil action for patent infringement arising under the United States

Patent Law.

       3.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 3 of the Complaint and therefore denies those allegations.

       4.      The Court granted Symbology’s, Bank of America Corporation’s and BANA’s

Joint Motion to Substitute Parties on July 11, 2016 [Dkt. 34], dismissing Defendant Bank of

America Corporation without prejudice and substituting BANA as the Defendant. BANA agrees

that Plaintiff’s prior personal service of process on Bank of America Corporation through Bank

of America Corporation’s registered agent The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801, shall be deemed personal service on

BANA, so that no further service of process is required. BANA is a National Association with a

principal place of business at 101 South Tryon Street, Charlotte, North Carolina 28202.

       5.      BANA does not contest the Court’s personal jurisdiction over BANA for

purposes of this action. BANA denies that it has committed and continues to commit acts of

infringement in the state of Texas or in any other state, and denies any other allegations recited in

Paragraph 5 of the Complaint to the extent that they are not conclusions of law with respect to

which no response is required.




                                                 2
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 3 of 13 PageID #: 163




       6.       BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 6 of the Complaint and therefore denies those allegations.

                                             VENUE

       7.       BANA does not contest the Court’s personal jurisdiction over BANA for

purposes of this action, acknowledges that BANA therefore is deemed to reside in this Judicial

District, and therefore admits that venue is proper under 28 U.S.C. §§ 1391(c) and 1400(b).

BANA denies that it has committed acts of infringement in this or any other Judicial District.

                                    COUNT I
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

       8.       BANA repeats and incorporates herein by reference its responses to Paragraphs 1

through 7 of the Complaint.

       9.       BANA admits that Plaintiff is pleading a cause of action that purportedly arises

under the Patent Laws of the United States, and in particular, under 35 U.S.C. §§ 271, et seq.

BANA denies that Plaintiff has a legitimate cause of action.

       10.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 10 of the Complaint and therefore denies those

allegations.

       11.      BANA admits that Exhibit A to the Complaint appears to be a copy of the ‘752

patent titled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.”

       12.      BANA denies the allegations recited in Paragraph 12 of the Complaint.

       13.      BANA denies the allegations recited in Paragraph 13 of the Complaint.

       14.      BANA admits that QR codes are included in web pages that are hosted on at least

one of BANA’s Internet websites, and that QR codes are included in web pages directed to


                                                3
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 4 of 13 PageID #: 164




BANA’s Health Mobile App. BANA lacks knowledge or information sufficient to form a belief

about the truth of the allegation that BANA through internal testing or otherwise has used QR

codes in one or more Internet websites to associate those QR codes with products or services and

therefore denies that allegation.

       15.     BANA admits that digital images of QR codes are included on web pages directed

to its Health Mobile App that can be accessed on at least one of BANA’s websites using URL

https://benefitsolutions.bankofamerica.com/common/Receipt_Upload_PDF_00-09-1537NSB_2-

20131.pdf    or    URL     http://healthaccounts.bankofamerica.com/my_cabinet_employee.shtml.

BANA admits that the images depicted in Paragraph 15 of the Complaint appear to be partial

screen shots taken from the latter web page directed to BANA’s Health Mobile App. BANA

lacks knowledge or information sufficient to form a belief about the truth of the allegation that

BANA has tested internally or otherwise the functionality of QR codes in connection with

BANA’s Health Mobile App and therefore denies that allegation.

       16.     BANA admits that the following language appears on a web page hosted on at

least one of BANA’s websites: “You can download the Health Mobile App directly from the

App Store or Google Play by typing: ‘BofA Health.’ Or, scan these QR codes to download the

app you need!” BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation that BANA through internal testing or otherwise has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone,

to capture a digital image of QR codes on web pages directed to its Health Mobile App and

therefore denies that allegation.




                                               4
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 5 of 13 PageID #: 165




       17.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 17 of the Complaint and therefore denies those

allegations.

       18.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 18 of the Complaint and therefore denies those

allegations.

       19.      BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegation recited in Paragraph 19 of the Complaint.

       20.      BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegations recited in Paragraph 20 of the Complaint.

       21.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation recited in Paragraph 21 of the Complaint and therefore denies that allegation.

                                   COUNT II
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       22.      BANA repeats and incorporates herein by reference its responses to Paragraphs 1

through 21 of the Complaint.

       23.      BANA admits that Plaintiff is pleading a cause of action that purportedly arises

under the Patent Laws of the United States, and in particular, under 35 U.S.C. §§ 271, et seq.

BANA denies that Plaintiff has a legitimate cause of action.

       24.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 24 of the Complaint and therefore denies those

allegations.




                                                 5
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 6 of 13 PageID #: 166




       25.     BANA admits that Exhibit B to the Complaint appears to be a copy of the ‘369

patent titled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.”

       26.     BANA denies the allegations recited in Paragraph 26 of the Complaint.

       27.     BANA denies the allegations recited in Paragraph 27 of the Complaint.

       28.     BANA admits that QR codes are included in web pages that are hosted on at least

one of BANA’s Internet websites, and that QR codes are included in web pages directed to

BANA’s Health Mobile App. BANA lacks knowledge or information sufficient to form a belief

about the truth of the allegation that BANA through internal testing or otherwise has used QR

codes in one or more Internet websites to associate those QR codes with products or services and

therefore denies that allegation.

       29.     BANA admits that digital images of QR codes are included on web pages directed

to its Health Mobile App that can be accessed on at least one of BANA’s websites using URL

https://benefitsolutions.bankofamerica.com/common/Receipt_Upload_PDF_00-09-1537NSB_2-

20131.pdf    or    URL     http://healthaccounts.bankofamerica.com/my_cabinet_employee.shtml.

BANA admits that the images depicted in Paragraph 29 of the Complaint appear to be partial

screen shots taken from the latter web page directed to BANA’s Health Mobile App. BANA

lacks knowledge or information sufficient to form a belief about the truth of the allegation that

BANA has tested internally or otherwise the functionality of QR codes in connection with

BANA’s Health Mobile App and therefore denies that allegation.

       30.     BANA admits that the following language appears on a web page hosted on at

least one of BANA’s websites: “You can download the Health Mobile App directly from the

App Store or Google Play by typing: ‘BofA Health.’ Or, scan these QR codes to download the



                                               6
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 7 of 13 PageID #: 167




app you need!” BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation that BANA through internal testing or otherwise has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone,

to capture a digital image of QR codes on web pages directed to its Health Mobile App and

therefore denies that allegation.

       31.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 31 of the Complaint and therefore denies those

allegations.

       32.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 32 of the Complaint and therefore denies those

allegations.

       33.      BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegation recited in Paragraph 33 of the Complaint.

       34.      BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegations recited in Paragraph 34 of the Complaint.

       35.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation recited in Paragraph 35 of the Complaint and therefore denies that allegation.

                                   COUNT III
               (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       36.      BANA repeats and incorporates herein by reference its responses to Paragraphs 1

through 35 of the Complaint.

       37.      BANA admits that Plaintiff is pleading a cause of action that purportedly arises

under the Patent Laws of the United States, and in particular, under 35 U.S.C. §§ 271, et seq.

BANA denies that Plaintiff has a legitimate cause of action.


                                                 7
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 8 of 13 PageID #: 168




       38.      BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 38 of the Complaint and therefore denies those

allegations.

       39.      BANA admits that Exhibit C to the Complaint appears to be a copy of the ‘190

patent titled “System and Method for Presenting Information about an Object on a Portable

Electronic Device.”

       40.      BANA denies the allegations recited in Paragraph 40 of the Complaint.

       41.      BANA denies the allegations recited in Paragraph 41 of the Complaint.

       42.      BANA admits that QR codes are included in web pages that are hosted on at least

one of BANA’s Internet websites, and that QR codes are included in web pages directed to

BANA’s Health Mobile App. BANA lacks knowledge or information sufficient to form a belief

about the truth of the allegation that BANA through internal testing or otherwise has used QR

codes in one or more Internet websites to associate those QR codes with products or services and

therefore denies that allegation.

       43.      BANA admits that digital images of QR codes are included on web pages directed

to its Health Mobile App that can be accessed on at least one of BANA’s websites using URL

https://benefitsolutions.bankofamerica.com/common/Receipt_Upload_PDF_00-09-1537NSB_2-

20131.pdf      or   URL    http://healthaccounts.bankofamerica.com/my_cabinet_employee.shtml.

BANA admits that the images depicted in Paragraph 43 of the Complaint appear to be partial

screen shots taken from the latter web page directed to BANA’s Health Mobile App. BANA

lacks knowledge or information sufficient to form a belief about the truth of the allegation that

BANA has tested internally or otherwise the functionality of QR codes in connection with

BANA’s Health Mobile App and therefore denies that allegation.



                                                8
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 9 of 13 PageID #: 169




       44.     BANA admits that the following language appears on a web page hosted on at

least one of BANA’s websites: “You can download the Health Mobile App directly from the

App Store or Google Play by typing: ‘BofA Health.’ Or, scan these QR codes to download the

app you need!” BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation that BANA through internal testing or otherwise has used a digital image

capturing device of a portable electronic device, such as the camera component of a smart phone,

to capture a digital image of QR codes on web pages directed to its Health Mobile App and

therefore denies that allegation.

       45.     BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 45 of the Complaint and therefore denies those

allegations.

       46.     BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegations recited in Paragraph 46 of the Complaint and therefore denies those

allegations.

       47.     BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegation recited in Paragraph 47 of the Complaint.

       48.     BANA denies that it has infringed any valid claim of any of the patents-in-suit

and therefore denies the allegations recited in Paragraph 48 of the Complaint.

       49.     BANA lacks knowledge or information sufficient to form a belief about the truth

of the allegation recited in Paragraph 49 of the Complaint and therefore denies that allegation.

                                    PRAYER FOR RELIEF

       BANA denies that Plaintiff is entitled to and should be awarded any of the relief it seeks

from the Court against BANA.



                                                 9
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 10 of 13 PageID #: 170




                          AFFIRMATIVE AND OTHER DEFENSES

       BANA asserts the following defenses, whether affirmative or otherwise, without

assuming any burden of proof that it would not otherwise have.

                               FIRST DEFENSE (INVALIDITY)

       1.      The claims of the ‘752, ‘369 and ‘190 patents are invalid because they do not

comply with one or more of the requirements for patentability, including those identified in 35

U.S.C. §§ 101, 102, 103 and 112.

                        SECOND DEFENSE (NONINFRINGEMENT)

       2.      BANA has not directly or indirectly infringed any valid and enforceable claim of

the ‘752, ‘369 or ‘190 patents, either literally or under the doctrine of equivalents.

                THIRD DEFENSE (PROSECUTION HISTORY ESTOPPEL)

       3.      By virtue of statements made, amendments made, or positions taken during the

prosecution of the applications for the ‘752, ‘369 and ‘190 patents and any other related patents,

Plaintiff is estopped from construing any allegedly infringed claim of the ‘752, ‘369 or ‘190

patents to cover or include, either literally or by application of the doctrine of equivalents, any

BANA product or service, or any method performed by BANA.

                         FOURTH DEFENSE (PATENT MARKING)

       4.      Some or all of Plaintiff’s claims for relief with respect to the ‘752, ‘369 or ‘190

patents are limited as a consequence of a failure to comply with the marking and notice

requirements of 35 U.S.C. § 287.

                                  FIFTH DEFENSE (LACHES)

       5.      Plaintiff’s claims are barred in whole or in part by laches.




                                                 10
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 11 of 13 PageID #: 171




                        SIXTH DEFENSE (NO INJUNCTIVE RELIEF)

        6.      Plaintiff is not entitled to injunctive relief because any alleged injury is not

immediate or irreparable, or because Plaintiff has an adequate remedy at law.


        BANA reserves the right to assert additional defenses and counterclaims after further

investigation, including, but not limited to, defenses related to the validity or enforceability of

the patents-in-suit.

        WHEREFORE, BANA denies that Plaintiff is entitled to any relief as prayed for in the

Complaint or otherwise, and accordingly, respectfully prays for entry of a judgment:

        A.      Dismissing Plaintiff’s Complaint against BANA with prejudice;

        B.      That BANA has not infringed and is not infringing any valid claim of the ‘752,

‘369 or ‘190 patents;

        C.      That the claims of the ‘752, ‘369 and ‘190 patents are invalid;

        D.      Enjoining Plaintiff, its successors and its officers, agents, servants, employees and

attorneys, and all other persons who are in active concert or participation with anyone described

in this paragraph, from directly or indirectly asserting infringement against, or instituting any

further action for infringement of the ‘752, ‘369 or ‘190 patents against BANA or any of its

customers, agents, successors or assigns;

        E.      Finding that this case is exceptional under 35 U.S.C. § 285, Fed. R. Civ. P. 11, or

other applicable laws, and awarding to BANA its reasonable attorneys’ fees and costs incurred in

connection with this action; and

        F.      Awarding to BANA such other and further relief as the Court may deem just and

proper under the circumstances.




                                                  11
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 12 of 13 PageID #: 172




                                          Respectfully Submitted,


                                           /s/ Michael E. Jones
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                                     12
Case 2:16-cv-00450-JRG Document 40 Filed 07/13/16 Page 13 of 13 PageID #: 173




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies all counsel of record who are deemed to have consented

to electronic service are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on July 13, 2016.




                                                     /s/ Michael E. Jones




                                              13
